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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

 YAN DU, ET AL., individually and on               )
 behalf of all others similarly situated           )
        Plaintiffs,                                )   3:25-cv-644 (OAW)
                                                   )
         v.                                        )
                                                   )
 UNITED STATES DEPARTMENT OF                       )
 HOMELAND SECURITY, ET AL.                         )
      Defendants.                                  )

                            ORDER PRESERVING JURISDICTION

       THIS ACTION arises out of the termination of the F-1 status records of dozens of

international students and employees studying at or employed by universities in

Connecticut. 1    Plaintiffs are international students who bring this case on behalf of

themselves, and other individuals affiliated with Connecticut universities whose F-1 status

was terminated.      See Compl. ¶¶ 2, 89, ECF No. 1. Defendants are the United States

Department of Homeland Security (“DHS”), Secretary of the Department of Homeland

Security Kristi Noem, and Acting Director of Immigration and Customs Enforcement

(“ICE”) Todd Lyons (together “Defendants”). Id. ¶¶ 14–16.

       The termination of Plaintiffs’ and putative class members’ F-1 status records puts

them in immediate danger of deportation, which in turn may deprive this court of

jurisdiction over the deportee’s claims. See 8 U.S.C. § 1227(a)(1)(C)(i) (“Any alien who




1
  The United States Department of Homeland Security (“DHS”) monitors and enforces the F-1 status
program. See SEVP Overview, https://www.ice.gov/sevis (last visited April 24, 2025). The program is
administered through the Student and Exchange Visitor Information System (“SEVIS”), which DHS and
universities use to communicate and maintain information about participating students. See Student and
Exchange Visitor Information System, https://www.ice.gov/sevis/overview (last visited April 24, 2025).


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was admitted as a nonimmigrant and who has failed to maintain the nonimmigrant status

in which the alien was admitted . . . is deportable.”).

       Under the All-Writs Act, a district court may “issue all writs necessary or

appropriate in aid of their respective jurisdictions and agreeable to the usages and

principles of law.” 28 U.S.C.A. § 1651. This has been interpreted to empower a court to

“issue all orders necessary to protect its jurisdiction.” Leuthavone v. Salisbury, No. 97-

cv-556-JJM, 2025 WL 1135588, at *1 (D.R.I. Apr. 17, 2025); see also Loc. 1814, Int'l

Longshoremen's Ass'n, AFL-CIO v. New York Shipping Ass'n, Inc., 965 F.2d 1224, 1237

(2d Cir. 1992) (“Once the district court acquires jurisdiction over the subject matter of, and

the parties to, the litigation, ‘the All Writs Act [28 U.S.C. § 1651] authorizes a federal court

to protect that jurisdiction’”). The Act goes as far as to grant courts the authority to “enjoin

and bind non-parties to an action when needed to preserve the court's ability to reach or

enforce its decision in a case over which it has proper jurisdiction.” In re Baldwin-United

Corp. (Single Premium Deferred Annuities Ins. Litig.), 770 F.2d 328, 338 (2d Cir. 1985)

(emphasis added).

       Thus, a federal court may temporarily enjoin immigration authorities from deporting

individuals if it preserves the court’s jurisdiction over a case or cases.            See, e.g.,

Rodriguez v. Noem et al, No. 3:25-cv-00616-SRU at ECF No. 7, (D. Conn. April 19, 2025)

(“Defendants . . . are enjoined from removing the plaintiff from the District of Connecticut

or deporting the plaintiff from the United States . . . until further order of the court, in order

to preserve this court’s jurisdiction to consider the merits of the case”); Mahmoud Khalil

v. Joyce, No. 25-cv-01935-JMF at ECF No. 9, 2025 WL 750599 (S.D.N.Y. Mar. 10, 2025)

(“To preserve the Court’s jurisdiction pending a ruling on the petition, Petitioner shall not



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be removed from the United States unless and until the Court orders otherwise"); Ozturk

v. Hyde et al, No. 1:25-cv-10695-DJC at ECF No. 16 (D. Mass. Mar. 28, 2025) (“To allow

the Court's resolution of its jurisdiction to decide the Petition, Ozturk shall not be removed

from the United States until further Order of this Court.” (internal citation omitted)); Garcia-

Izquierdo v. Gartner, No. 04 CIV. 7377 (RCC), 2004 WL 2093515, at *2 (S.D.N.Y. Sept.

17, 2004) (“Under the All Writs Act . . . the Court may order that a petitioner's deportation

be stayed only when a stay is necessary to preserve the Court's jurisdiction of the case.”

(citing United States v. Int'l Bhd. of Teamsters, Chauffeurs, Warehousemen & Helpers of

Am., AFL-CIO, 266 F.3d 45, 49–50 (2d Cir. 2001)); Leuthavone v. Salisbury, 2025 WL

1135588, at *2 (granting a stay of removal “to maintain the status quo and preserve the

Court's ability to adjudicate the habeas petition”).

       Accordingly, Defendants, their officers, agents, servants, employees, attorneys,

and all persons acting in concert with them, hereby are ENJOINED from removing any

Plaintiffs or putative class members from the District of Connecticut, and from deporting

them from the United States. In order to preserve this court’s jurisdiction to adjudicate

the merits of the case, this order shall remain in effect until further order of the court.

       The Clerk of Court respectfully is asked to please email a copy of this order to the

Acting United States Attorney for the District of Connecticut.



       IT IS SO ORDERED in Hartford, Connecticut, this 24th day of April, 2025.

                                                                    Digitally signed by Omar A.
                                           Omar A. Williams Williams
                                                            Date: 2025.04.24 23:08:52 -04'00'



                                                    OMAR A. WILLIAMS
                                              UNITED STATES DISTRICT JUDGE

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